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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF FLORIDA
                                  PENSACOLA DIVISION



THOMAS STALLWORTH and
WILLIE MAE STALLWORTH,

               Plaintiffs,

vs.
                                                    CASE NO: 3:06CV89MCR/EMT
THE HARTFORD INSURANCE COMPANY,
a Delaware Corporation and SEAN MANLEY,
Individually and As agent for Hartford

               Defendant.

                                                /

      DEFENDANTS MOTION FOR AN ENLARGEMENT OF TIME TO CONDUCT
                      RULE(26)(F) CONFERENCE

       The Defendants, THE HARTFORD INSURANCE COMPANY and SEAN MANLEY

hereby move for an indefinite extension of time until Defendants Motion to Dismiss has been

ruled upon or in the alternative an extension of time up through and including August 31, 2006,

within which to conduct the Rule 26(f) disclosure conference, Pursuant to Federal Rule of Civil

Procedure 6(b) and N. D. Fla. Loc. R. 7.1(B), and as grounds state as follows:

       1.      Defendants, Hartford Insurance Company and Sean Manley, were served with the

Summons and Complaint in this action on March 28th and March 29, 2006, respectively.

Pursuant to Rule 16(b), the Courts scheduling order shall issue within 120 days after the

Complaint has been served on Defendant. Rule 26(f) requires the parties to confer at least 21

days before a scheduling conference is held or a scheduling conference is due. Therefore, the

parties are currently required to conduct a Rule 26(f) disclosure conference on or before

Wednesday, July 5, 2006.
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       2.      Defendants, Hartford Insurance Company and Sean Manley, are desirous of an

indefinite extension of time until Defendants Motion to Dismiss has been ruled upon or in the

alternative an extension of time up through and including August 31, 2006, within which to

conduct the Rule 26(f) disclosure conference.

       3.      This extension is sought in good faith and is based upon the following reasons.

First, in response to Plaintiff s Complaint, Defendants have filed a Motion to Dismiss. This

motion, if successful, would cause the Rule 26 disclosure conference and discovery plan to be

moot and an unnecessary task for both parties.

       Second, the logistics involved in this matter create an uncommon level of difficulty in the

scheduling and coordination of a conference such as the one discussed herein. Pro Se Plaintiffs

reside in Houston, Texas, Co-Defendant, The Hartford, is incorporated in Delaware with its

Senior Counsel located in Hartford, Connecticut, Co-Defendant, Sean Manley, is currently

employed and working in The Hartford s Tampa, Florida office, and defense counsel is located

in Jacksonville, Florida.

       Lastly, lead counsel and attorney of record for the Defendants, Joseph T. Kissane, is

currently out of town and not scheduled to return until July 11, 2006, several days after the

deadline for the Rule 26(f) conference.

       4.      Pursuant to Rule (6)(b), the time prescribed to conduct the subject conference has

not expired, and therefore, the Undersigned requests an indefinite extension of time until

Defendants Motion to Dismiss has been ruled upon or in the alternative an extension of time up

through and including August 31, 2006, within which to conduct the Rule 26(f) disclosure

conference, for the reasons stated above.
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       5.     Pursuant to N. D. FLA. LOC. R. 7.1(A)(1), a memorandum of law in support is

not required to accompany this motion.

                         CERTIFICATE OF CONFERRING WITH PLAINTIFF

       Pursuant to N. D. FLA. LOC. R. 7.1(B), Defendants, Hartford Insurance Company and

Sean Manley, have conferred with the Pro Se Plaintiffs in a good faith effort an attempt to

resolve by agreement the issues raised herein. However, the Pro Se Plaintiffs have refused to

agree to such an extension and are opposed to this motion.

       WHEREFORE, the Defendants, THE HARTFORD INSURANCE COMPANY and

SEAN MANLEY, hereby request this Court to enter an Order granting an indefinite extension of

time until Defendants Motion to Dismiss has been ruled upon or in the alternative an extension

of time up through and including August 31, 2006, within which to conduct the Rule 26(f)

disclosure conference.




                                                    HINSHAW & CULBERTSON LLP


                                                    s/ Geoffrey D. Sessions
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                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on April 14, 2006, I electronically filed the foregoing with

the Clerk of the Court by using the CM/ECF system. I further certify that I mailed the foregoing

document and the notice of electronic filing by first-class mail to the following non-CM/ECF

participants: Thomas Stallworth and Willie Mae Stallworth, P.O. Box 941148, Houston, TX

77094.




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